                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                Case No: 3:15-cv-354

LM RESTAURANTS, INC.,                                   )
                                                        )
                Plaintiff,                              )
                                                        )
v.                                                      )
                                                        )        FINANCIAL DISCLOSURES
ALE YEAH!, INC., ALE YEAH! ROSWELL,                     )
INC., FILL ‘ER UP, LLC, FRANCISCO                       )
VILA AND EDDIE HOLLEY,                                  )
                                                        )
                Defendants.                             )

        Plaintiff LM Restaurants, Inc. (“LMR”) pursuant to Fed. R. Civ. P. 7.1 and Local Civil

Rule 7.3 makes the following disclosures:

        1.      LMR is not a publicly held corporation or other publicly held entity.

        2.      LMR does not have a parent company.

        3.      There is not any other publicly held corporation or other publicly held entity with

a direct financial interest in the outcome of this litigation.

        4.      LMR is not a trade association.

        5.      This action did not arise out of a bankruptcy proceeding.




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Respectfully submitted, this the 5th day of August, 2015.

                                     Coats & Bennett, PLLC
                                     Attorneys for

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